            Case 1:20-cv-02490-LLS Document 5 Filed 10/16/20 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JESSICA BERK,

                                 Plaintiff,
                                                                 20-CV-2490 (LLS)
                     -against-
                                                              ORDER OF DISMISSAL
THE CITY OF NEW YORK, ET AL.,

                            Defendants.

LOUIS L. STANTON, United States District Judge:

         By order dated August 13, 2020, the Court directed Plaintiff to file an amended complaint

within sixty days. That order specified that failure to comply would result in dismissal of the

complaint. Plaintiff has not filed an amended complaint. Accordingly, the complaint, filed in

forma pauperis pursuant to 28 U.S.C. § 1915(a)(1), is dismissed under 28 U.S.C.

§ 1915(e)(2)(B)(ii). Under 28 U.S.C. § 1367(c), the Court dismisses without prejudice any state

law claims that Plaintiff may be asserting.

SO ORDERED.

Dated:     October 16, 2020
           New York, New York

                                                                Louis L. Stanton
                                                                   U.S.D.J.
